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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,          )
                                   )
          Plaintiff,               )
                                   )          CR No. 21-139
                                   )          Washington, D.C.
       vs.                         )          December 20, 2021
                                   )          11:00 a.m.
RACHAEL LYNN PERT,                 )
DANA JOE WINN,                     )
                                   )
          Defendants.              )
___________________________________)

             TRANSCRIPT OF SENTENCING PROCEEDINGS
            BEFORE THE HONORABLE TREVOR N. McFADDEN
                  UNITED STATES DISTRICT JUDGE


APPEARANCES:

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Proceedings recorded by mechanical stenography; transcript
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1                          P R O C E E D I N G S

2               COURTROOM DEPUTY:     All rise.

3               THE COURT:    Good morning.

4               COURTROOM DEPUTY:     Good morning, everyone.

5    Please be seated and come to order.

6               Your Honor, this is Criminal Case 21-139,

7    United States of America versus Rachael Lynn Pert and

8    Dana Joe Winn.

9               Counsel, please come forward to identify

10   yourselves for the record, starting with the government.

11              And sorry.    On the phone, Probation Officer

12   Aidee Gavito.

13              MR. REGAN:    Good morning, Your Honor.

14   Brandon Regan on behalf of the United States.

15              THE COURT:    Good morning, Mr. Regan.

16              MR. ORENBERG:     Good morning, Your Honor.

17   Allen Orenberg for Dana Joe Winn, who's present.

18              THE COURT:    Good morning, Mr. Orenberg;

19   good morning, Mr. Winn.

20              MS. HANANIA:    Good morning, Your Honor.

21   Waffa Hanania on behalf of Ms. Pert, who is also present.

22              THE COURT:    Good morning, Ms. Hanania; and

23   good morning, Ms. Pert.

24              All right.    We're here for the sentencing of the

25   Defendants Rachael Pert and Dana Joe Winn, who have both
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                                                                         4

1    pled guilty to one count of entering and remaining in a

2    restricted building or grounds, in violation of 18 U.S.C.

3    1752(a)(1).

4                It looks to me like the Presentence Reports for

5    both defendants are substantially identical, really.

6                So I guess I'm inclined to do the sentencings

7    together.

8                Mr. Regan, do you have any objection to that?

9                MR. REGAN:   No objection to that, Your Honor.

10               THE COURT:   Ms. Hanania?

11               MS. HANANIA:    No, Your Honor.

12               THE COURT:   And Mr. Orenberg?

13               MR. ORENBERG:    No, Your Honor.

14               THE COURT:   Okay.

15               I've received and reviewed the presentence

16   investigation reports, the sentencing recommendation, and

17   sentencing memoranda from all parties.        Are there any other

18   documents or materials that I should have reviewed?

19               Mr. Regan?

20               MR. REGAN:   Nothing from the government,

21   Your Honor.

22               THE COURT:   Ms. Hanania?

23               MS. HANANIA:    No, Your Honor.

24               THE COURT:   And Mr. Orenberg?

25               MR. ORENBERG:    No, Your Honor.
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                                                                       5

1               THE COURT:    Ms. Pert and Mr. Winn, this sentencing

2    hearing will proceed in four steps, some of which may seem a

3    bit mechanical to you, but I want you to keep in mind why we

4    are here today and the gravity of the situation.

5               You've committed federal crimes.        Today's

6    proceeding is a serious matter, as it is about the

7    consequences that you will face because of your decision to

8    engage in criminal behavior, in violation of federal law.

9               The first step of today's hearing is for me to

10   determine whether you've reviewed the presentence reports

11   and whether there are any outstanding objections to them,

12   and if, so, to resolve those objections.

13              The second step is to determine what sentencing

14   guidelines and sentencing range applies to your case based

15   upon your criminal history and considering any mitigating or

16   aggravating factors that may warrant a departure under the

17   Sentencing Guidelines manual.

18              The third step is to hear from the government,

19   from your counsel, and you, if you wish to be heard, about

20   sentencing in this case.

21              And the final step requires me to fashion a just

22   and fair sentence in light of the factors Congress set forth

23   in 18 U.S.C. 3553(a).     As part of this last step, the Court

24   will actually impose the sentence, along with the required

25   consequences of the offense.
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1                All right.   The final Presentence Investigation

2    Report and sentencing recommendations were filed in both

3    defendants' cases on December 13th, 2021, and all parties

4    submitted their memoranda in aid of sentencing the same day.

5    Both defendants also submitted letters in their support.

6                Mr. Regan, does the government have any objection

7    to any of the factual determinations set forth in the

8    presentence report?

9                MR. REGAN:   We do not, Your Honor.

10               THE COURT:   Ms. Hanania, have you and Ms. Pert

11   read and discussed the presentence report?

12               MS. HANANIA:   We have, Your Honor.

13               THE COURT:   Does the defendant have any objections

14   to any of the factual statements set forth in the

15   Presentence Report?

16               MS. HANANIA:   Your Honor, the only correction we

17   would offer is that the --

18               COURT REPORTER:    Please come to the lectern.

19               MS. HANANIA:   Your Honor, the only correction we

20   would note, on page 26 when we laid out some information,

21   the PSR indicates that -- or seems to infer that Ms. Pert

22   and Mr. Winn were gassed and then chose to enter the

23   building.

24               I just wanted to note, in terms of the chronology,

25   when they entered, there was no such gassing or any other
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                                                                        7

1    indication of anything like that.       Just before they exited

2    the building, there was an area near them where gas was

3    deployed against the people inside the building.          And so

4    just in terms of the chronology, we think it's significant

5    for Your Honor in fashioning a sentence, that we make that

6    notation to the facts.

7               THE COURT:    Okay.

8               MS. HANANIA:    Other than that, we have no other

9    objections to the facts set out in the PSR.

10              THE COURT:    Okay.

11              And I'll tell you, my impression was that your

12   clients had left the building during the gassing, not that

13   it happened beforehand.

14              MS. HANANIA:    Thank you, Your Honor.

15              THE COURT:    And, ma'am, are you expecting any

16   witnesses today?

17              MS. HANANIA:    No, Your Honor.

18              Though, of course, Ms. Pert's family is very

19   supportive of her; they didn't have the financial ability to

20   travel, so that's why we submitted a number of letters.

21              THE COURT:    Okay.   Which, of course, is just fine.

22              Mr. Orenberg, have you and Mr. Winn read and

23   discussed the presentence report?

24              MR. ORENBERG:     Yes, we have, Your Honor.

25              THE COURT:    Does your client have any objection to
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                                                                           8

1    any of the factual statements set forth in it?

2               MR. ORENBERG:     No, unless -- I apologize, I'm

3    quickly looking through the presentence report.          If there's

4    something similar to what Ms. Hanania has said about

5    Ms. Pert, then we would just make the same -- or point out

6    the same chronology to the Court.

7               THE COURT:    Okay.

8               And do you have witnesses present in the

9    courtroom?

10              MR. ORENBERG:     Well, Your Honor, I would like to

11   introduce my client's family, immediate family is here,

12   they're sitting together, the three of them.         On the Court's

13   far left is his mother, Debbie Whytmer, from Sarasota,

14   Florida.   And in the middle is his daughter-in-law,

15   Amanda Mincery, from, I believe, the Middleburg area of

16   Florida.   And then on the far right of that row is Zachary

17   Covington, his son, who's married to Ms. Mincery, also of

18   Middleburg, Florida.

19              They may or may not want to address the Court,

20   Your Honor.    They want to see how things progressed before

21   they make a final decision.

22              THE COURT:    Okay.

23              Well, if they do, it can be brief.

24              MR. ORENBERG:     Thank you.

25              THE COURT:    Ms. Pert, could you come forward,
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                                                                          9

1    please?

2               Ma'am, are you fully satisfied with your attorney

3    in this case?

4               DEFENDANT PERT:     Yes, Your Honor.

5               THE COURT:    Do you feel you've had enough time to

6    talk to her about the Probation Office's Presentence Report

7    and the papers the government filed in connection with

8    sentencing?

9               DEFENDANT PERT:     Yes, Your Honor.

10              THE COURT:    All right.    Thank you, ma'am.

11              And, Mr. Winn, could you come forward, please.

12              Mr. Winn, do you feel you've had enough time --

13   well, let me ask you, sir:      Are you fully satisfied with

14   your attorney in this case?

15              DEFENDANT WINN:     Yes, Your Honor.

16              THE COURT:    And do you feel you've had enough time

17   to talk to him about the Probation Office's Presentence

18   Report and the papers the government filed in connection

19   with sentencing?

20              THE DEFENDANT:     Yes, Your Honor.

21              THE COURT:    All right.    Thank you, sir.     You may

22   be seated.

23              The Court will accept the facts as stated in the

24   Presentence Reports.     The Presentence Reports will serve as

25   my findings of fact for purposes of this sentencing, and I'd
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1    like to thank the probation officer for her work on this.

2               The Presentence Report lays out the Probation

3    Office's calculation of the advisory guideline range that

4    applies in this case.     And as I said, I think the

5    information is identical here for both defendants.

6               I'll attempt to summarize the calculation as

7    follows:

8               Congress has imposed a statutory maximum sentence

9    for this offense of one year of imprisonment.         The

10   Probation Office says that under Guideline 2B2.3, the Base

11   Offense Level is 4.

12              Further, pursuant to the same guideline, the

13   offense level is increased by 2, as the trespassing occurred

14   at a secured government facility.       The government recommends

15   a two-level reduction for acceptance of responsibility under

16   guideline 3E1.1, bringing us back to a total offense level

17   of 4.

18              Is there any objection to the calculation of the

19   offense level, Mr. Regan, as to either defendant?

20              MR. REGAN:    Your Honor, one thing I would point

21   out, the government addressed it in the sentencing

22   memorandum, as the Court just stated, the PSR applies the

23   specific offense characteristic for the trespass at a secure

24   government facility in accordance with 2B2.3; however, the

25   specific offense characteristic that applies is the
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                                                                           11

1    restricted building or grounds.      It's the same offense

2    level, so there's no change to the guideline score.          I just

3    wanted to note that for the record, Your Honor.

4               THE COURT:    Okay.   Thank you, sir.

5               Ms. Hanania, any objections to that calculation on

6    behalf of your client?

7               MS. HANANIA:    No, Your Honor.

8               THE COURT:    And Mr. Orenberg?

9               MR. ORENBERG:    No, Your Honor.

10              THE COURT:    Okay.

11              Turning next to criminal history, the Presentence

12   Report estimates that both defendants have an estimated

13   criminal history point of 1, giving each of them a Criminal

14   History Category I.

15              The parties agree, based on the total offense

16   level of 1 and a Criminal History Category of I, the

17   Guidelines applicable for each defendant is zero to

18   six months.

19              Any objection to this calculation, Mr. Regan?

20              MR. REGAN:    No objection, Your Honor.

21              THE COURT:    Ms. Hanania?

22              MS. HANANIA:    No, Your Honor.

23              THE COURT:    And Mr. Orenberg?

24              MR. ORENBERG:    No, Your Honor.

25              THE COURT:    I will now discuss the remaining
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                                                                          12

1    applicable penalties, which include fines, supervised

2    release, probation, and restitution.

3               The maximum fine the Court may impose for this

4    offense is $100,000.     The Court may also impose a term of

5    supervised release of not more than one year.

6               There's also a mandatory special assessment of

7    $25.

8               The Guidelines Range for a fine is $500 to $9,500.

9               Each defendant is eligible for up to five years'

10   probation because the offense is a misdemeanor.         Under the

11   Guidelines if probation is imposed, the term shall be no

12   more than three years, because the offense level is five or

13   less.

14              Since the applicable Guidelines Range is in Zone A

15   of the sentencing table, a condition requiring a period of

16   community confinement, home detention, or intermittent

17   confinement may be imposed but is not required.         And that's

18   from Guideline 5B1.1.

19              And I should say, Mr. Regan, I'm happy to hear

20   from you when the time comes.      But as I've suggested in

21   other cases, I'm not inclined to give home detention.

22   I would be interested in your views as to whether

23   intermittent confinement, i.e., weekends in jail, is

24   appropriate.   So you can be thinking about that.

25              Under 18 U.S.C. 3663(a), restitution in the total
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1    amount of $500 shall be ordered against each defendant.

2               Have I stated accurately the statutory and

3    guidelines framework under which we are operating in regard

4    to this case?

5               Mr. Regan?

6               MR. REGAN:    Yes, Your Honor.

7               THE COURT:    Ms. Hanania?

8               MS. HANANIA:    Yes, Your Honor.

9               THE COURT:    Mr. Orenberg?

10              MR. ORENBERG:    Yes, Your Honor.

11              THE COURT:    I also believe I'm correct in saying

12   that no party is seeking a departure in this case.

13              Mr. Regan?

14              MR. REGAN:    That's correct, Your Honor.

15              THE COURT:    Ms. Hanania?

16              MS. HANANIA:    That's correct, Your Honor.

17              THE COURT:    And Mr. Orenberg?

18              MR. ORENBERG:    Correct, Your Honor.

19              THE COURT:    Before I discuss the other sentencing

20   factors that will bear on my final decision, I will, at this

21   point, share the particular sentence the Probation Office

22   has recommended, taken into account the Guidelines sentence,

23   the available sentences, and all of the factors set forth in

24   3553(a).

25              Probation has recommended a sentence of no time in
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1    prison, no supervised release, three years of probation, no

2    fine, $500 in restitution, and $25 fine.        And that's the

3    same for both defendants.

4               The recommendation of the Probation Office is

5    based solely on the facts and circumstances contained in the

6    Presentence Report.

7               I must now consider the relevant factors that

8    Congress set out in 18 U.S.C. 3553(a) to ensure that the

9    Court imposes a sentence that is sufficient but not greater

10   than necessary to comply with the purposes of sentencing.

11   These purposes include the need for the sentence imposed to

12   reflect the seriousness of the offense, to promote respect

13   for the law, and to provide just punishment for the offense.

14   The sentence should also afford adequate deterrence to

15   criminal conduct, protect the public from future crimes of

16   the defendant, and promote rehabilitation.

17              In addition to the Guidelines and policy

18   statements, I must consider the nature and circumstances of

19   the offense, the history and characteristics of the

20   defendant, the need for the sentence imposed, the guideline

21   ranges, the need to avoid unwarranted sentence disparities

22   among defendants with similar records who have been found

23   guilty of similar conduct, and the types of sentences

24   available.

25              All right.    I would like to hear from the
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                                                                          15

1    attorneys in a moment, but, Mr. Orenberg, I think if one of

2    the family members would like to speak, now is the time.

3               MR. ORENBERG:    Where should he come?

4               THE COURT:    He can approach the podium.

5               Good morning, sir.

6               MR. COVINGTON:    Good morning.

7               THE COURT:    Could you state your name for the

8    record, sir.

9               MR. COVINGTON:    Zachary Covington.

10              THE COURT:    Okay.

11              And remind me of your relation to Mr. Winn.

12              MR. COVINGTON:    He's my father.

13              THE COURT:    Okay.

14              MR. COVINGTON:    I just want to point out, even

15   though, you know, he should not have went into the building,

16   he has done a lot of great things for his community.          He's

17   been a wrestling coach for my high school I went to.

18   A couple of the other programs I was in, he did a lot of

19   work with a bunch of kids, teaching them how to do a bunch

20   of -- helping them out with school.       You know, getting

21   them -- there were some kids that weren't on a good path in

22   life, pretty much got them straightened out.

23              And he's helped the community out a lot.         He's got

24   a great job that he has.     He does dang good work with all

25   that.
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                                                                         16

1               He's an all-around good guy.       He's not really the

2    type of person to get in trouble a lot.

3               I've wrote a letter; I'm not good at speaking.

4               THE COURT:    No.    I appreciate your letter, and I

5    appreciate you being here, sir.       I'll tell you it's actually

6    pretty unusual for family members to come to sentencing.          So

7    it speaks well of him and certainly of you and your other

8    family members.

9               MR. COVINGTON:      He's part of the family; you've

10   got to stick with him.

11              THE COURT:    All right.    Thank you for being here,

12   sir.

13              MR. COVINGTON:      Yes, sir.

14              THE COURT:    Mr. Regan, does the government wish to

15   be heard on the application of factors set forth under

16   3553(a), request a variance, or otherwise make a sentencing

17   recommendation?

18              MR. REGAN:    Yes, Your Honor, just briefly.

19              Your Honor, to start, like the government set

20   forth in our memorandum, we're requesting the Court sentence

21   both defendants to three months' home detention, 24 months

22   of probation, 40 hours of community service, and $500 in

23   restitution per the plea agreement.

24              To address the Court's question moments ago,

25   understanding that the Court may not be inclined to issue
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1    home confinement, the government is not opposed to a

2    weekends-in-jail-type sentence; however, the government

3    thinks it might be more appropriate in this case to have

4    just a longer period of probation, perhaps 36 months, as

5    opposed to 24 months, with respect to the actions that they

6    took on January 6th.

7               As the Court set out, the purpose of sentencing in

8    18 U.S.C. 3553(a) is to reflect the seriousness of the

9    offense, to promote respect for the law, to provide a just

10   punishment, deterrence, and protect the public from further

11   crimes.

12              The government is not going to belabor the points

13   we made in our memorandum, just to point a couple of things

14   out for Your Honor:    When talking about the seriousness of

15   the offense, there's essentially two viewpoints to analyze

16   in the construct of these cases.       The first is January 6th

17   as a whole, what happened that day, and then the role that

18   these two defendants specifically played in it.

19              As we state in our memo, the events of January 6th

20   were incredibly troubling and unlike anything we've seen in

21   modern American history.     The defendants, concededly among

22   thousands of others, stormed and breached the United States

23   Capitol, which is the very seat of American democracy, on a

24   day where that democratic process was doing one of the most

25   sacred things it can, which is assure the efficient
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                                                                          18

1    transition of power from one President to the next.

2                And the rioters, to include the defendants,

3    succeeded in temporarily halting that process:         The

4    Electoral College vote.

5                And what may have started as an event of political

6    expression for some, quickly turned into an event that

7    threatened democracy in this country on January 6th.

8                And the government cannot understate the

9    significance of what happened on January 6th.         And each and

10   every rioter played a role in what happened on January 6th.

11   And I think as the Court has seen in other cases, what the

12   government is trying to do now is delineate what each of

13   those defendants did and sort of what their culpability is

14   that day.

15               So with respect to these two defendants, the

16   government was careful to delineate these two specifically,

17   as opposed to not only other rioters but other rioters

18   around them, and then the types of misconduct committed by

19   rioters that day.

20               This included both defendants entering the

21   building as the riot was ongoing.       And I don't disagree with

22   opposing counsel about there was no tear gassing that the

23   government knows about as they entered the building, that

24   was actually while they were exiting the building, walking

25   through several sections of the Capitol and then exiting the
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                                                                       19

1    building.

2                Some important facts to note from the government's

3    brief:   The defendants made several statements that day that

4    are helpful to inform the Court of both their sentencing

5    decision here today but what was going through the

6    defendants' minds.

7                After exiting the building, the defendants had the

8    following exchange:    Mr. Pert [sic] stated, they said we

9    stopped the vote -- excuse me, Ms. Pert stated, they said we

10   stopped the vote.    Mr. Winn stated, we stopped the vote?

11   Ms. Pert stated, that's what they said.        Some people were

12   saying, we did stop the vote.      And Mr. Winn responded:

13   Isn't that what we were trying to do?

14               Now, the government is not suggesting that these

15   two individuals had been conspiring and planning for weeks

16   beforehand and that they were fully informed of the

17   constitutional process and methods they may have had at

18   their disposal in order to halt that process.

19               What the government is suggesting, though, is that

20   these two defendants were not completely naive to what was

21   happening that day.    Maybe they didn't understand the

22   constitutional import of it, but they were there that day

23   for a specific reason.     And when they made it to the

24   Capitol, it was known to them what was happening and what it

25   is that the group of rioters there that day, to include
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                                                                       20

1    them, was trying to do.

2                When Ms. Pert says, some people were saying, we

3    did stop the vote, and Mr. Winn replies, isn't that what we

4    were trying to do, you get a pretty clear snapshot of what's

5    happening in that moment in time, right after they exit the

6    building, when they're sort of rejoicing with other rioters

7    about what had happened.

8                It also provides context to what the defendants

9    were experiencing during the riot.       They were a part of a

10   large crowd of rioters, admittedly very large crowd inside

11   the building, and they were in a place in the building where

12   tear gas had been deployed to get people out of the

13   building.

14               A clear sign that they were not supposed to be in

15   the building, that they knew they weren't supposed to be in

16   the building, and an overall indicator of the chaos

17   unfolding inside the United States Capitol that day, both

18   specifically where they were, and then, generally speaking,

19   the throngs of rioters in the building as law enforcement

20   struggled to maintain any sense of order.

21               Now, to be clear, the government is not alleging

22   that either defendant took part in violence or destroyed any

23   property on January 6th.     And the government agrees with

24   some of the things the defense said in their memorandums

25   with respect to both defendants were cooperative with law
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                                                                          21

1    enforcement.   They provided voluntary and candid interviews,

2    and they pled guilty at the first available opportunity, and

3    the government notes those and believes the Court should as

4    well.

5               Now, both defendants also have limited criminal

6    history, and the government considered all of these factors

7    when trying to fashion a sentence.

8               As the Court can see in the appendix to the

9    government's sentencing memo, the government has also

10   considered sentencing recommendations and ultimate sentences

11   of other rioters with similar factual predicates.         And that

12   is really the largest burden the government has, is trying

13   to encapsulate all of these cases and then consistently

14   recommend a consistent sentence based on consistent actions.

15              Now, the government wants to be clear:        Every

16   single case is unique.     There are no two cases that are

17   entirely based on the same factual predicate.         And every

18   defendant is unique, every defendant has different criminal

19   histories, different reasons for being there that day, at

20   least stated, and then different actions after the fact,

21   whether it's levels of contrition, cooperativeness with the

22   FBI and the government and so forth.

23              All of that to say, the government is making a

24   concerted effort to be consistent with its sentencing

25   recommendations in all Capitol riot cases, and we're trying
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1    to do that here as well, Your Honor.

2               Here, the government believes its recommendation

3    of three months' home detention, 24 months of probation, or,

4    alternatively, 36 months of probation, should the Court deem

5    home detention not appropriate, in addition to 40 hours of

6    community service and $500 in restitution, adequate because

7    it reflects the seriousness of the offense, both as a group

8    of January 6th rioters, and then these two individual

9    defendants; it promotes respect for the law; it provides

10   just punishment; and, importantly, it provides a certain

11   measure of both specific deterrence, as well as general

12   deterrence, which the government believes is exceedingly

13   important in these cases as we move into another political

14   cycle where we may again see a transition of power or we may

15   not.

16              But just generally speaking, what the Court does

17   in these cases resonates throughout the country, and the

18   government believes that ordering a sentence that is being

19   requested here has just that effect, both on these

20   defendants and the general populous.       So the government's

21   asking for that sentence to help ensure the events of

22   January 6th are a one-time event, and that these defendants

23   are punished in accordance with what they actually did that

24   day.   Thank you, Your Honor.

25              THE COURT:    Thank you, Mr. Regan.
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1                Ms. Hanania, do you wish to be heard on the

2    application of factors set forth in 3553(a), request a

3    variance, or otherwise make a sentencing recommendation?

4                MS. HANANIA:   Yes, Your Honor.     Thank you.

5                Your Honor, it is Ms. Pert's position, we would

6    submit to the Court, that the government's recommendation is

7    greater than necessary to achieve the purposes of

8    sentencing.

9                I'll be clear, we don't have any objection and are

10   in agreement with the Court imposing community service

11   hours.    We would submit that that's an appropriate part of

12   the consequences that Ms. Pert should face as a result of

13   her actions that day, as well, of course, as paying the $500

14   in restitution that she's agreed to do.

15               We would also note for Your Honor's consideration

16   that that $500 restitution is a significant penalty for

17   Ms. Pert to undergo, given her financial situation.

18               She does work full time.     She's a very hard

19   worker.    She's worked all her life.     She supports two young

20   children and helps to support an adult son as well.

21               She's now working full time as a construction

22   worker at Black Creek Builders.      Her day consists of getting

23   up, taking her two young children to school, going to her

24   boss's house, and they together travel to the construction

25   site -- the job site for the day.
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1               Her day goes from 8:00 to 6:30 or later, and

2    that's during this season when construction isn't as full

3    board as it would be.     In the spring and summer, that load

4    goes up.

5               So even with that now full-time job, she,

6    unfortunately, fell into a bit of a financial hole as a

7    result of the consequences of her actions of this case,

8    which is another penalty that she's paid already.

9               She had been working as an assistant manager at a

10   convenience store.    She lost that job as a consequence of

11   her actions on January 6th.

12              And she unfortunately was several months without

13   work as a result of that.

14              She has, thankfully, started again full-time

15   employment, but any additional fine would simply be beyond

16   her ability to pay.    And so that $500 in restitution, she

17   will scrimp and save and do everything, she will pay that

18   off.   But I just ask the Court to note that it will be a

19   significant burden on her to do that.       And that is part of

20   the penalty that she's going to be paying.        And she

21   undertakes that and understands that it's her responsibility

22   to do that.

23              But as far as the length of supervision that the

24   government is recommending, whether it be the 24 months or

25   the 36 months, Your Honor, we would argue that is greater
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1    than necessary, given Ms. Pert's particular history and

2    characteristics, as well as her particular involvement in

3    this case.

4               In support of that, we would point to the Pretrial

5    Services Compliance Report.      Ms. Pert has, for nearly a year

6    now, been under the conditions of release which restricted

7    her freedom in some ways.     She reported regularly to a

8    Pretrial Services Officer.      She had to undergo regular

9    testing.   She was required to go through some treatment.

10   And she has complied fully with all of those.

11              That history of compliance, we would argue,

12   Your Honor, shows that not only is she going to comply

13   completely with whatever Your Honor's sentence is in this

14   case, but also shows that a greater -- another two or three

15   years on top of the year that she's already served -- or not

16   served -- complied with the conditions would be greater than

17   necessary, which is why we're recommending 12 months of

18   probation with the conditions outlined as part of the

19   penalty in this case.

20              THE COURT:    What's the burden on her, kind of an

21   ongoing burden in terms of probation?       And I guess I've

22   typically been a little skeptical of long periods of

23   probation on misdemeanants, but, you know, your client does

24   have a criminal history; it's not a lengthy criminal

25   history, but it's certainly not spotless either.         And most
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1    of the misdemeanants I've sentenced have less.

2                MS. HANANIA:   Yes, sir.

3                When you -- and just to make sure that I

4    understand Your Honor's question, when you ask what the

5    burden is to her, the concern for her -- if it's simply a

6    period of probation, Your Honor, without home confinement or

7    anything else, her entire life revolves around her two

8    children and -- her two young children and her work.          She,

9    every week, helps lead a Cub Scout group on Thursday nights.

10               In spring and summer, she -- both of her young

11   children participate in soccer.      And so between practices

12   and games, that's twice a week that -- two times a week, on

13   Wednesdays and Sundays, she attends church with her

14   children.    And aside from working, that's all she does.

15               The burdens of a lengthy period of probation would

16   just be in terms of her inability to feel free to do

17   everything that she needs to do for her children, feel free

18   to do everything she needs to do in terms of her work, as

19   well as limits her financial circumstances.

20               THE COURT:   I don't think I understand that.

21               MS. HANANIA:   In terms of whatever other

22   additional conditions or additional requirements that

23   Probation may ask of her, she's stretched so thin already,

24   that any further output in terms of any regular reporting,

25   because of where she lives, she'd be supervised from
     Case 1:21-cr-00139-TNM Document 64 Filed 02/11/22 Page 27 of 67

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1    Jacksonville and she lives in Middleburg.        It's not an

2    incredibly long distance, but it is significant travel for

3    her away from work, away from her children for any reporting

4    requirements or testing requirements, especially if it were

5    to go on for more than -- for as long as two years.          So

6    that's what we would submit to Your Honor in terms of the

7    burden it would impose on her.

8               Your Honor, I would also note that Ms. Pert

9    certainly did not have an understanding of the electoral

10   process.   I think we laid out in my sentencing memorandum

11   Ms. Pert's particular motivations.

12              She had no idea in her head that she was even

13   going to attend the rally.      This was something that was

14   important to Mr. Winn.     He had made arrangements to go with

15   a friend, and when that fell through, she did not want him

16   to make that trip alone.

17              And so instead of working as she was scheduled to

18   do, she arranged for coverage of her work shift and arranged

19   for the care of her children and went on what she thought

20   was going to be just a fun couple of days.        And while their

21   actions are largely the same, their motivations for being

22   there are not, and in this context, we would argue that

23   that's of some significance.

24              As Mr. Regan has noted, she went to the rally

25   without any plan or purpose other than to go with Mr. Winn
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1    and to attend the rally.

2               There had been no prior communication, no social

3    media, no plan or preparation.

4               And we would reiterate the fact that she did

5    not -- neither of them did -- engage in any violent act or

6    destruction of property before they entered, while they were

7    in there, or on their exit.

8               They were in there for a very short period of

9    time.   And as we've noted, the only indication they had was,

10   as they were nearing their exit to the building, they walked

11   through an area in which tear gas had been deployed.

12              Ms. Pert has acknowledged that her actions take

13   place within a larger context.      She knows that there are

14   many people there with many different reasons to be there.

15   And I can just submit to Your Honor that she has expressed

16   her remorse and regret throughout this case, both to me, to

17   the people in my office, and she's going to do that to

18   Your Honor.

19              One of the things that she's talked to me about

20   that she does is to talk with her children about the

21   consequences of what you do.      And she's been honest with

22   them about this.    She's told them why she's here today, in

23   spite of their age.    And she said to them, mommy did a bad

24   thing, she didn't mean to, but she did a bad thing, and

25   she's going to go and get whatever the consequences of that
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1    are.   And that's what you have to remember, is that, for

2    whatever action you take, there can be good consequences or

3    bad consequences, and mommy has to go now to face those

4    consequences, and they might not be good.

5                But she accepts that, because now in hindsight,

6    having seen everything that occurred, things that she didn't

7    see while she was there, but having seen everything that

8    occurred and having understood that her role, no matter how

9    unintended, helped provide numbers and cover for people who

10   really truly did have very bad intentions when they entered

11   that place.    And she recognizes that now.      And she's so

12   regretful and so remorseful for her role in providing that

13   to those people.

14               When they returned home, and having been contacted

15   by law enforcement, and, of course, by that time, having

16   seen everything that occurred, they both, but specifically

17   for my purposes, Ms. Pert, voluntarily agreed to sit down

18   with law enforcement officers, they answered their questions

19   candidly and straightforwardly and honestly, they showed

20   remorse then and accountability and respect for those

21   officers and for the process of law.       And Ms. Pert does so

22   again here today.    She understands she shouldn't have been

23   there, but she can't undo that at this stage.

24               She will have to live with this for the rest of

25   her life.    She will be -- have this conviction now on her
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1    record.   And already she's faced the censure of people close

2    to her for her actions that day.

3               But we would argue that given the entirety of her

4    history and the entirety of her actions that day, that

5    12 months of probation with community service and that

6    restitution is sufficient to address all the purposes of

7    sentencing here today.

8               She's a devoted mother, a hard worker, an esteemed

9    member of her community.     The letters that we submitted,

10   Your Honor, show the regard with which she's held within her

11   own community.

12              And for all of these reasons, we would ask that

13   Your Honor sentence her to 12 months of probation with the

14   conditions that I've outlined.      Thank you, Your Honor.

15              THE COURT:    Thank you, ma'am.

16              Ms. Pert, I'll hear from you now, if you wish to

17   be heard; you certainly don't need to.        But if there's

18   anything you'd like to tell me before I impose sentence, now

19   is your opportunity.

20              DEFENDANT PERT:    Your Honor, Congress, federal

21   prosecutor, federal defender, and United States citizens,

22   I am guilty of the charge set before me.

23              I went into the United States Capitol without

24   researching current laws and restrictions.        It was not my

25   intentions to cause any damages; however, in hindsight,
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1    I did.   By my presence, I allowed others to cause damages.

2    I am saddened and ashamed when I think of my actions and the

3    actions of others that day.

4                I went to the Stop the Steal rally but did not

5    intend to go to the Capitol; however, I did.         I followed the

6    crowd up the steps and in through open doors into the

7    Capitol.    I got caught up in the moment and was wrong for

8    doing so.

9                I have three sons:    A 20-year-old, who's grown

10   into a respectable, honest, hard-working young man, who is

11   still seeking stability in life; the other two, who are ten

12   and seven.

13               I have always taught my sons to take

14   accountability for their actions, but every action has a

15   reaction or consequence.     I have been involved in

16   volunteering, Boy Scouts, and soccer.       I have done my best

17   to lead by example.    I am ashamed that my actions on that

18   day showed such a bad example to my children.

19               I have raised my children to be honest, no matter

20   the situation.    I've raised them to follow the law.

21               They may not get everything right in life and

22   often make mistakes, but I accept responsibility for what I

23   do and teach my children to learn from my mistakes.

24               When the FBI came to my home, my two younger

25   children were home, as they did not have school that day.
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                                                                           32

1    They did not understand what was going on.        I explained to

2    my children to the best of my ability what was going on.

3               I know I was wrong for my actions on January 6th

4    and answered questions, gave items worn, and gave access to

5    my phone without counsel present.

6               I later turned myself in.      I did these things

7    because I respect the law and law enforcement.

8               The two younger children rely solely upon myself.

9    They depend on me, they look up to me, it is my job to teach

10   them right from wrong.

11              I am here today to admit to my wrongdoings.            I

12   should not have gone into the United States Capitol.

13   I should not have gotten caught up in the rhetoric of the

14   Stop the Steal rally.     I should not have unknowingly

15   provided cover for the more violent offenders.

16              I cannot undo what is already done.        January 6th

17   is a day I wish had never happened.       My two younger children

18   are scared.   They're scared I may go to jail, and they

19   wonder who is going to take care of them.

20              I have been the only constant in their lives since

21   birth.   I lost my job as assistant manager and was without

22   work for months.    I received harassing phone calls and lost

23   friends.   My social media account was banned, along with my

24   oldest son's, my bank closed my account, along with my

25   oldest's son, with no explanation.
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1               I do not understand why my oldest son's social

2    media account and bank account was closed, other than the

3    fact he is my son.

4               My oldest did not go to D.C., yet he was punished

5    for my actions.    These are things I do not wish to

6    experience again, nor do I wish for any of my children to

7    experience.

8               I have learned from my mistakes on that day.

9    The biggest mistake I made was standing in the way of a

10   peaceful transition of power from one President to the next.

11   I know that the peaceful transition of power is to ensure

12   the common good for our nation and that it is critical in

13   protecting our country's security needs.        I am truly sorry

14   for my part and accept full responsibility for my actions.

15              I'm hopeful that my sons and others will learn

16   from my mistakes on January 6th.       I am ready to accept my

17   punishment and any sentence Your Honor chooses to apply.

18              THE COURT:    Thank you, ma'am.     You may have a

19   seat.

20              Mr. Orenberg, do you wish to be heard on the

21   application of factors set forth under 3553(a), request a

22   variance, or otherwise make a sentencing recommendation?

23              MR. ORENBERG:    Yes, Your Honor.

24              It's somewhat of an unusual sentencing when two

25   co-defendants come together in this kind of posture where
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1    they're literally joined at the hip.

2               And I was sitting here and listening to Mr. Regan

3    and to Ms. Hanania, what they were saying.

4               And I would like to, first of all, say, I want to

5    thank government counsel for being extremely professional

6    throughout these proceedings.      From the minute I met him in

7    this case until today, I have nothing but the utmost respect

8    for government counsel.     It's been a pleasure to work with

9    Ms. Hanania.

10              Also in the same light, I was trying -- I was

11   prepared to talk -- I am prepared to talk for 10 or 15

12   minutes about my client, but much of what both of these

13   wonderful attorneys have said to the Court already directly

14   apply to my client.

15              So as I was sitting here and thinking about what

16   they were saying and what I could say that is a little bit

17   different with respect to Mr. Winn, it drew me back to a

18   quote that I heard many, many years ago, long before

19   Lin-Manuel Miranda made Hamilton, shall we say, famous in

20   the last five or six years, there's a quote where Alexander

21   Hamilton said, "A man of quality is best seen at bad times,

22   because the clouds that surround him are shades that set off

23   his good qualities."     And that's exactly what's happened

24   with Mr. Winn here.

25              He made a mistake back on January 6th.        He was not
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1    naive, okay?    He came to Washington to participate in the

2    rally.   And he found himself, along with Ms. Pert, hand in

3    hand walking to the Capitol, into the Capitol.         We're not

4    disputing the facts; we're not quibbling with what happened

5    that day.

6                And that was a bad time for Mr. Winn, but should

7    the rest of his life -- should this man, who's 46 years old,

8    should the rest of his life be discounted?        I say not, as

9    Alexander Hamilton said, that "there are shades that set off

10   his good qualities."

11               The Court has already heard a little bit about my

12   client, not only from Mr. Regan but in my sentencing

13   memorandum and in the Presentence Report.

14               And the Court also mentioned that it's -- I think

15   the Court said it's unusual that family shows up at a

16   sentencing, whether it's a sentencing for a misdemeanor or

17   it's a sentencing where, perhaps, the client is facing

18   decades in prison.

19               And I agree with you, Your Honor.      I've been

20   practicing before this Court and other courts in this area

21   for many, many years, and it's not every sentencing hearing

22   that family members show up.

23               And these three family members, they don't live

24   here in the Washington Metropolitan area.        They live in

25   Florida.    His mother lives in Sarasota, Florida.       His son
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1    and daughter-in-law live in Middleburg.        And they -- well,

2    obviously they love him and they support him.         And they made

3    the long, 10-, 11-hour drive yesterday with him up here so

4    they could be here today to support him.        And they will

5    continue to support and love him even after today.

6               There are maybe good qualities about Mr. Winn, and

7    I'm just going to touch on them briefly.        He's been

8    hard-working all of his life.      The Court can see from the

9    report and from my memo that he has been continuously

10   employed in the -- except for a very short time as a

11   glassblower for a milk company, making milk bottles, he has

12   been in the construction business.       He works hard.

13              This is the first time I've met Mr. Winn in

14   person.   Obviously, we have talked on the phone; we've done

15   many Zoom meetings together.

16              And, you know, I think I'm at a point in my career

17   where I'm able to take the measure of a man right away.           But

18   when I first met Mr. Winn this morning in person for the

19   first time, is I noticed his hands, and his hands are those

20   of a hard worker.    They're brown, they're rutty, they're

21   well-worked.   I can tell this man works hard every day.          He

22   goes to work, he supports his family, he takes care of

23   himself, and he does all the things that a responsible

24   member of his community should do.

25              You heard from his son, he's well thought of,
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1    whether he was a wrestling coach for his son's team and he

2    contributes to other activities in the community, he's a

3    very well thought of individual in the Middleburg, Florida,

4    community.

5               Your Honor, obviously, we're asking for the same

6    sentence that counsel for Ms. Pert is asking for also:

7    12 months of probation.     He has been under supervision for

8    the last 11 months now or so.      As I pointed out in my

9    sentencing memoranda, for the first week or eight days, he

10   was on the GPS monitoring system.

11              And he has been extremely compliant with all

12   conditions of release.     He has shown the Court that he's a

13   man that can be trusted with whatever conditions this Court

14   imposes on him, including the fine, the $500.         Even though

15   he works, he's a hard worker, the $500 is going to be a

16   little tough for him also.      I'm not saying it's going to be

17   insurmountable, but he works hard for every dollar that he

18   earns.

19              I put in my sentencing memoranda, and the

20   government pointed out several other cases that are similar

21   in facts and nature to the cases of Mr. Winn and Ms. Pert,

22   where a period of short probation has been imposed by

23   members of this Court.     In fact, there was one recently a

24   couple weeks ago, maybe less than two weeks ago, in the

25   Jennifer Parks case on December 8th, where the government
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1    asked for 30 days of home detention, and the Court

2    imposed -- Judge Nichols imposed a period of 24 months'

3    probation.   There are many other examples.       I know this

4    Court is familiar with all the other sentencings going on in

5    this courthouse with relation to January 6th cases.

6               We are asking for a short period of probation.

7    I think that Mr. Winn has shown this Court -- and also, I

8    failed to mention, he, too, voluntarily was interviewed by

9    the FBI prior to his arrest in this case, okay?         He's been

10   extremely cooperative with law enforcement at every stage of

11   the proceedings.    There's nothing to suggest that he would

12   otherwise be a good probationer.       And we believe that a

13   short period of probation is appropriate in this case.

14   Thank you.

15              THE COURT:    Thank you, Mr. Orenberg.

16              Mr. Winn, you have the right to make a statement

17   or present any evidence -- or any information to mitigate

18   the sentence.   Would you like to say anything that you would

19   like me to consider before imposing sentence?

20              DEFENDANT WINN:    Yes, Your Honor.

21              THE COURT:    All right.    Approach the podium,

22   please, sir.

23              DEFENDANT WINN:    Your Honor, I do have to start

24   off with the fact I don't have anything prepared.

25              I was instructed by my attorney to write something
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1    out and send it to him; that way he could proofread it.            But

2    I also am the type that, well, I need to say it from my

3    heart, from who I am, shows judge of character.

4                I do have to start off with saying -- apologizing

5    to everybody in this room and the American citizens and all.

6    I did make a mistake on January 6th by entering the Capitol

7    building.    I had no intentions on going into the Capitol.

8    I did have intentions of coming up and participating in the

9    Steal rally, you know, come watch Trump.        He had no

10   incitement on me to go into the Capitol in any way, shape,

11   or form.

12               We did walk over towards the Capitol.       And it just

13   kind of blew my mind when I was standing there in the grass,

14   as many other people was, all of a sudden, pressure grenades

15   were going off, I saw people getting shot by rubber bullets.

16   We were just standing there, not even doing anything.             And

17   then that's when things got heated up.        And that's when

18   everybody just kind of, in the heat of the moment.          But then

19   everybody was also holding the doors open.

20               It definitely was a bad judgment call going in.

21   And I do apologize.    I do hold myself accountable.        That's

22   one thing I was always taught growing up.        I had a great

23   mentor, which was my father.      And unfortunately, he's no

24   longer with us.    With my mom, I have a great support through

25   her as well.
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1               And I agree with both Mr. Orenberg and Ms. Hanania

2    as far as the sentencing part of it.       The sooner it's over,

3    the better.    And the reason I say this is, right now

4    I'm going through the most punishment that anybody can ever

5    go through.

6               This past February I lost my father.        I was with

7    that man every day for 45 years of my life.        And the way I

8    lost him is -- there's no kind of words for it.         I had meant

9    to bring his medical record with me so I could show it, but

10   he did end up with COVID, they put him on a ventilator.           It

11   shows in his records that the ventilator was installed

12   improperly on the 8th of February.       And it states in the

13   record that on the 14th of February, they were going to

14   re-adjust it.    Well, on the 14th of February, which is

15   Valentine's Day, is when they talked me into taking my dad

16   off the ventilator and let him pass.

17              Prior to all that, I was calling attorneys all

18   through the state of Florida trying to invoke the Right to

19   Try Act of 2018 to try and use other therapeutics and things

20   like that.    I was fighting with the doctors.       I need to work

21   on me again, and I respectfully request to please get this

22   over as quick as possible.

23              I have no issues paying the $500 fine.        Granted,

24   my job right now, it's gone from something I love and adore

25   to complete misery, due to the fact of the whole COVID
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1    situation.

2               You know, I'm superintendent for a builder.

3    Normally I could build a house between 90 and 120 days,

4    which is pretty good.     Now, it's taken anywhere from six

5    months to a year.    So my finances have been dramatically hit

6    hard.

7               And it's just -- every day, it's misery, misery.

8    I'm ready for positivity again; I'm ready to get back to

9    where Dana used to be.     And, again, I do apologize for

10   entering the Capitol.     And also it states within our video,

11   as soon as I crossed that threshold, I said, we're here to

12   be peaceful, and do not be destroying anything.         I used

13   different choices of words, but I'll keep it court -- for

14   the Court's, you know.

15              But other than that, I do have a great support

16   system, as you see behind me.      They're trying to get through

17   this whole thing with my dad.      That there is just the

18   killer.   I mean, I just, every day, from the time I wake up

19   until the time I go to sleep, it's just -- I'm ready to find

20   Dana again.   And I feel like I'm finding him a lot quicker,

21   the quicker I can get this off my plate and start

22   concentrating directly on myself.

23              Thank you, Your Honor.      I don't have anything

24   else.

25              THE COURT:    All right.    Thank you, sir.
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1               Ms. Pert, could you approach; sir, you can remain

2    at the podium.

3               MR. ORENBERG:    Do you want us to remain there?

4               THE COURT:    Yes.

5               All right.    I've assessed the particular facts of

6    this case in light of the relevant 3553(a) factors,

7    including the Sentencing Guidelines, and I now am going to

8    provide remarks for the record and for each of you about my

9    considerations in regard to the nature of the offense and

10   your history and characteristics.

11              As I've said before, I think you participated in a

12   shameful event, a national embarrassment that made all of us

13   feel less safe, less confident that our country can be

14   governed democratically, rather than by mob rule.

15              The government has highlighted several troubling

16   facts about your particular actions on January 6th.          Your

17   videoed comments right after leaving the Capitol suggest

18   that you didn't just follow the crowd in, but that you were

19   trying to storm them to stop the vote, to use Ms. Pert's

20   words.

21              It is shocking that you believed you had the right

22   to use force and violence to stop the constitutionally

23   mandated certification process from being carried out.

24              I understand there were differing views about the

25   election and who won, and you're entitled to your views.
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1    You're not, however, entitled to take the law into your own

2    hands, and yet that's what you did on January 6th.

3                Second, there's at least some evidence that you

4    came prepared for violence.

5                Mr. Winn, you suggested that Ms. Pert brought her

6    flag, that way I can hit Antifa in the head, if need be.

7    That doesn't sound to me like you're coming just for a

8    political rally and got swept up into something more

9    sinister.    It sounds to me like you came looking for

10   trouble.

11               Finally, you both spent over half an hour in the

12   Capitol building.    This sets you apart from several rioters

13   I've sentenced who entered into the Capitol building and

14   quickly left, realizing they shouldn't be there.         But you

15   heard the alarms, saw the police, and, to use Ms. Pert's

16   words, they started tear gassing and forcing you out before

17   you left.    That's another aggravating factor here.

18               On the other hand, I know that you didn't assault

19   anyone, that you didn't damage any property, and I do

20   believe you had no intent of breaking into the Capitol

21   building when you woke up on January 6th.

22               Those are important mitigating factors in your

23   favor.   But I hope you also see that when people allow

24   themselves to get swept up into a mob, they end up creating

25   chaos and lawlessness that the vast majority of those people
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1    individually never would have caused or chosen to do.

2    That's the danger of mobs.      Ms. Pert, as you said a few

3    moments ago, I think you did get caught up in the moment,

4    and unfortunately, people can do some very bad things when

5    they get caught up in the moment.

6               I've also considered your history and

7    characteristics.    While neither of you have a lengthy

8    criminal history, this is not your first brush with the law

9    either.   I'm much more inclined to give someone a break who

10   has no prior convictions, but you both have misdemeanor

11   convictions, including relatively recent assault

12   convictions.

13              I've also considered the various facts in your

14   favor, including the letters and testimonials on your

15   behalf, suggesting that you're -- that this conduct was an

16   aberration for you.    And I recognize the fact that you're

17   both gainfully employed and are contributing to society.

18   I also have taken into account, Mr. Winn, your son's

19   testimony here today.

20              Finally, I give you credit for early acceptance of

21   responsibility.    I also agree with the attorneys that your

22   history on pretrial supervision in this case speaks well in

23   your favor.

24              I am going to give slightly different sentences

25   here.   I think -- I do believe that Mr. Winn was a bit of
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1    the protagonist here, at least in suggesting that you come.

2    And, frankly, I think I detect a greater degree of remorse,

3    frankly, from Ms. Pert than I do from Mr. Winn.

4               And, finally, I have taken into account your own

5    desires, and particularly Mr. Winn's desire to get this over

6    quickly.

7               Having considered all of the 3553(a) factors, I'm

8    cognizant that I must fashion a sentence that is sufficient

9    but not greater than necessary to comply with the purposes

10   of sentencing.

11              I'll now impose the sentences.

12              It is the judgment of the Court that you,

13   Rachael Pert, are hereby sentenced to a term of 24 months'

14   probation on Count 2.     You're further sentenced to pay $500

15   in restitution, and to pay a $25 Special Assessment.

16              While on probation, you shall abide by the

17   following mandatory conditions, as well as the standard

18   conditions of supervision which were imposed to establish

19   the basic expectations for your conduct while on

20   supervision.

21              The mandatory conditions include:

22              You must not commit another federal, state, or

23   local crime; you must not unlawfully possess a controlled

24   substance; you must refrain from any unlawful use of a

25   controlled substance, including marijuana; you must submit
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1    one drug test within 15 days of placement on supervision,

2    and at least two periodic drug tests thereafter as

3    determined by the Court; you must cooperate in the

4    collection of DNA as directed by the probation officer; you

5    must make restitution in accordance with 18 U.S.C. 3663 and

6    3663(a) or any other statute authorizing a sentence of

7    restitution.

8               I will be authorizing supervision and jurisdiction

9    of this case to be transferred to the United States

10   District Court for the Middle District of Florida.

11              You shall comply with the following special

12   conditions:

13              You must provide the probation officer access to

14   any requested financial information and authorize the

15   release of any financial information.       The Probation Office

16   may share financial information with the United States

17   Attorney's Office.

18              You must not incur new credit charges or open

19   additional lines of credit without the approval of the

20   probation officer.

21              You must also complete 100 hours of community

22   service within the first 12 months of your probation.             The

23   probation officer will supervise the participation in the

24   program by approving the program.       You must provide written

25   verification of completed hours to the Probation Office.
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1               The Court finds that you do not have the ability

2    to pay a fine, and, therefore, waives imposition of a fine

3    in this case.    However, you are ordered to make restitution

4    to the Architect of the Capitol in the amount of $500.

5               The Court determines that you do not have the

6    ability to pay interest and, therefore, waives any interest

7    or penalties that may accrue on the balance.

8               Restitution payments shall be made to the Clerk of

9    the Court for the U.S. District Court for the District of

10   Columbia for disbursement to the Architect of the Capitol.

11              You shall pay the balance of any restitution owed

12   at a rate of no less than $50 each month and provide

13   verification to the Probation Office.

14              The Probation Office shall release the Presentence

15   Investigation Report to all appropriate agencies, which

16   includes the United States Probation Office in the approved

17   district of residence, in order to execute the sentence of

18   the Court.   Treatment agencies shall return the presentence

19   report to the Probation Office upon your completion or

20   termination from treatment.

21              It is the judgment of the Court that you, Dana Joe

22   Winn, are hereby sentenced to a term of 12 months' probation

23   as to Count 2.    You're further sentenced to pay $500 in

24   restitution and to pay a $25 Special Assessment.

25              As a condition of your probation, you must also
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1    serve a total of ten days of intermittent confinement.

2    The intermittent confinement shall be served on consecutive

3    weekends at a facility designated by the Bureau of Prisons

4    within the first year of your probation.        You must follow

5    rules and regulations of your facility in which you're

6    designated.

7               While on probation, you shall abide by the

8    following mandatory conditions, as well as the standard

9    conditions of supervision, which are imposed to establish

10   the basic expectations of your conduct while on supervision.

11              The mandatory conditions include:       You must not

12   commit another federal, state, or local crime; you must not

13   unlawfully possess a controlled substance; you must refrain

14   from any unlawful use of a controlled substance; you must --

15   including marijuana; you must submit to one drug test within

16   15 days of placement on supervision and at least two

17   periodic drug tests thereafter as determined by the Court;

18   you must cooperate in the collection of DNA as directed by

19   the probation officer; you must make restitution in

20   accordance with 18 U.S.C. 3663 and 3663(a), or any other

21   statute authorizing a sentence of restitution.

22              I will also be authorizing supervision and

23   jurisdiction of this case to be transferred to the United

24   States District Court for the Middle District of Florida.

25              You should comply with the following special
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1    conditions:

2               You must provide the probation officer access to

3    any requested financial information and authorize the

4    release of any financial information.

5               The Probation Office may share financial

6    information with the United States Attorney's Office.

7               You must not incur new credit charges or open

8    additional lines of credit without the approval of the

9    probation officer.

10              You must complete 100 hours of community service

11   within the first 12 months of your probation, and your

12   probation is only for 12 months.

13              The probation officer will supervise the

14   participation in the program by approving the program.

15              You must provide written verification of completed

16   hours to the probation officer.

17              The Court finds that you do not have the ability

18   to pay a fine, and, therefore, waives imposition of a fine

19   in this case.

20              You're ordered to make restitution to the

21   Architect of the Capitol in the amount of $500.

22              The Court determines that you do not have the

23   ability to pay interest and, therefore, waives any interest

24   or penalties that may accrue on the balance.

25              Restitution payments shall be made to the Clerk of
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1    the Court for the U.S. District Court for the District of

2    Columbia for disbursement to the Architect of the Capitol.

3                You shall pay the balance of any restitution owed

4    at a rate of no less than $50 each month and provide

5    verification of the same to the Probation Office.

6                The Probation Office shall release the Presentence

7    Investigation Report to all appropriate agencies, which

8    includes the United States Probation Office in the approved

9    district of residence, in order to execute the sentence of

10   the Court.

11               Treatment agencies shall return the Presentence

12   Report to the Probation Office upon your completion or

13   termination from treatment.

14               I advise both defendants, pursuant to

15   United States Code 3742, Title 18:       You have a right to

16   appeal the sentence imposed by this Court if you believe the

17   sentence was imposed in violation of law, was imposed as a

18   result of an incorrect application of the Sentencing

19   Guidelines, the sentence departs upward from the applicable

20   sentencing Guidelines Range, or the sentence was imposed for

21   an offense for which there's no sentencing guideline and is

22   plainly unreasonable.     If you choose to appeal, you must

23   file any appeal within 14 days after the Court enters

24   judgment.

25               As defined in 28 U.S.C. 2255, you also have the
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1    right to challenge the conviction entered or sentence

2    imposed if new and currently unavailable information becomes

3    available to you or on a claim that you received ineffective

4    assistance of counsel in entering a plea of guilty to the

5    offense of conviction or in connection with sentencing.

6    If you're unable to afford the cost of an appeal, you may

7    request permission from the Court to file an appeal without

8    cost to you.

9               Pursuant to United States versus Hunter,

10   809 F.3d 677 from the D.C. Circuit, are there any objections

11   to the sentence imposed that are already not noted on the

12   record?

13              Mr. Regan?

14              MR. REGAN:    No, Your Honor.

15              THE COURT:    Do you have a motion, sir?

16              MR. REGAN:    Yes, Your Honor.     The government moves

17   to dismiss the remaining counts of the indictment.

18              THE COURT:    All right.

19              Ms. Hanania, do you have any objections that are

20   not noted?

21              MS. HANANIA:    No, Your Honor.

22              THE COURT:    And do you have any objection to the

23   government's motion?

24              MS. HANANIA:    No, Your Honor.

25              THE COURT:    Mr. Orenberg, do you have any
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                                                                       52

1    objections to the sentence imposed that are not already

2    noted on the record?

3               MR. ORENBERG:    No, Your Honor.

4               THE COURT:    And do you have any objection to the

5    government's motion?

6               MR. ORENBERG:    No, Your Honor.

7               THE COURT:    All right.

8               I, therefore, am dismissing the remaining counts

9    of the indictment.

10              Good luck to you, folks.      Thank you.

11              MR. ORENBERG:    Your Honor?

12              THE COURT:    Yes.

13              MR. ORENBERG:    I'm sorry, we do have one other

14   housekeeping matter --

15              THE COURT:    Okay.

16              MR. ORENBERG:    Just for Mr. Winn.

17              THE COURT:    Okay.

18              Thank you, folks.

19              MS. HANANIA:    Thank you, Your Honor.

20              MR. ORENBERG:    He's asking for the Court's

21   permission to be with his mother in Sarasota, Florida, which

22   is, I don't know, 100 miles from Middleburg.

23              DEFENDANT WINN:      It's approximately three and a

24   half hours.

25              MR. ORENBERG:    Three and a half hours, yeah, for
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1    the Christmas holidays.     He's indicated to me that the

2    probation officer down there said, get permission from the

3    Judge.

4                THE COURT:   Okay.

5                Ms. Gavito, are you still with us?

6                PROBATION OFFICER:    Yes, Your Honor, I'm here.

7                THE COURT:   Do you have any concern with that?

8                PROBATION OFFICER:    Your Honor, I'm going to

9    contact Mr. Winn.    Mr. Winn is the one that requested it,

10   right?

11               THE COURT:   Yes.

12               PROBATION OFFICER:    Okay.

13               I'm going to contact Mr. Winn, because, as of

14   today, he is on probation, he is going to be assigned to a

15   probation officer.

16               I need to advise him of his conditions of

17   probation.    And he would need to report to his new probation

18   officer and go through any requirements that that officer

19   may have.    I wouldn't want to speak on behalf of another

20   officer who's going to get this case assigned.

21               THE COURT:   Okay.

22               Do you have any objection, Mr. Regan?

23               MR. REGAN:   No, Your Honor.

24               And I'm happy to work with Mr. Orenberg offline

25   once the probation officer is assigned to try and get that
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1    accommodation made for Christmas.

2               THE COURT:    Okay.

3               I'm fine with it.     I don't know if --

4               MR. ORENBERG:    That's fine.

5               I do have one follow-up question.       This being the

6    first sentencing hearing I've had in the pandemic era where

7    the clients are released from the courtroom, do we still

8    need to go to the Probation Office here or do we do this all

9    by telephone?

10              THE COURT:    I don't know.

11              Ms. Gavito?

12              PROBATION OFFICER:     I am going to contact each

13   Mr. Winn and Ms. Pert separately and go over their

14   conditions of probation separately by telephone.         They don't

15   need to go to the Probation Office.

16              MR. ORENBERG:    Okay.   Thank you.

17              THE COURT:    All right.

18              So, Mr. Orenberg, on the request for Christmas,

19   I'm going to assume you all can work this out.         If you

20   can't, I need specific language that you want me to order

21   and you can file a motion for that.

22              MR. ORENBERG:    Thank you, Your Honor.

23   I understand.

24              THE COURT:    But I think it's better we have that

25   on the record about an address or what have you.
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                                                                        55

1               MR. ORENBERG:    All right.    Got it.    Thank you.

2               THE COURT:    Thanks, folks.    Good luck to you all.

3               COURTROOM DEPUTY:     All rise.

4               This Honorable Court will stand in recess until

5    the return of court.

6               (Proceedings concluded at 12:12 p.m.)

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                      C E R T I F I C A T E
                I, William P. Zaremba, RMR, CRR, certify that
the foregoing is a correct transcript from the record of
proceedings in the above-titled matter.




Date:__December 31, 2021____ /S/__William P. Zaremba______
                                  William P. Zaremba, RMR, CRR
                                                                                                                            57

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DEPUTY: [3] 3/2 3/4
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